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EXH|B|T “A”

CaS€ 2217-CV-O4611-WB

SIMON & SlMON, I’.C.
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Joshua A. Rosen. Esquire
Matthew J. Zamites, Esquire
Brian F. George. Esquire
Andrew Baron, Esquire
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Attomey I.D. NO.

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1515 Marl<et Street, Suite 1600
Philadelphia. PA 19102

(215) 467-4666

 

Keena [H"¢H
1734 Mohjcan Slreel
Phi]adelphia, PA 19138

Plaintiff
v.
lsrael Guerrero Jl'.
846 Pa‘rterson Road
Jackson, NJ 08527

And

Noltheast Foods, lnc
l Gounnet Lane
Edison, NJ 08837
Defendfmts

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THIS lS NOT AN ARBITRAT[ON COMPLAINT
AN ASSESSMEN'I` OF DAMAGES HEA P.".\IG
IS REQUIRED

Flled agd At:tested by the
` ` Oft’l.§.‘e of Jud.icial R¢cords
Mary CJ. l\/IcC arlhy. Esqmumva 2017 os.-ss pm

William Rhoades, Esquire "‘ umw
Michael Sch[aguhuuf`er. Esqui;'¢
Alexander C. Hyder, Esquil'e

Erik Newman, Esquire

Daria Koscielnial<, Esquire

Harry Gosnear, Esquire

Jessa|yn Gillum, Esquire

Fabianna Pel'golizzi, Esquire
Ash|ey Keefer, Esquire

Katie Walsh, Esquire

Dam'e| Ward, EsquireAttomeys for
Plaintiff(s)

[N THE COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

August Texm` 2017

Case ID: 170803107

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N_O_TI_C_M

N()TICE

You have been sued in court lf you wish to
defend against the claims Set forth in the
following pages, you must take action Within
twenty (20) days after this complaint and
notice are served, by entering a written
appearance personally or by attomey and tiling
in writing With the court your defenses or
objections to the claims Set forth against you.
You are Warned that if you fail to do so the
case may proceed without you and a judgment
may be entered against you by the court
Without further notice for any money claimed
in the complaint or for any other claim or reliet`
requested by Ms. Olson. You may lose money
or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO
YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT
AFFORI') ()NE, GO TO OR TELEPHONE
THE OFFICE SET FORTl-l BELOW TO
FTND OUT WHERE YOU CAN GET LEGAL
HELP.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND
INFORMATION SERVICE

One Reading Centel'
Phlladelphia Pennsylvania 19107
Telephone: (215) 238-1701

AVISO

Le han demandado a usled en la corte. Si usled
quiere defenderse de estas demandas expuestas en
las paiginas siguientes, usted tienc vicnte (_20) dias
de plazo al partir dc la fecha de la demanda y la
iiotiticacioii. Hacc falta asentar una
comparecencia escrita 0 en persona o con un
abogado y entregar a la corte en fonna esci'ita sus
defensas o sus objeciones a las dcmandas en
contra de su personn. Sea avisado que si usted no
se det`iende, la corte tomara medidas y puede
continuar la demandn en contra Suya Sin previo
ayiso 0 notificacion. Adein.'is, la corte puedc
decidir a favor del demandante y requiere que
usted cumpla con todas las provisiones de csra
demanda. Usted puede perder dinero o sua
propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABoGADo
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ABoGADo o st No TIENE EL oiNi~:Ro
SUFtcrENTE DE PAGAR TAL SER\/iclo._
yAYA EN PERSONA o LLAME PoR
TELEFONO A LA oFICINA CUYA
omaccion si~: ENCUENTRA ESCRITA
ABAJo PARA AVERIGUAR DoNDE si~:
PUEDE CONSEGUIR ASISTENCIA LEGAL_

ASOCIACION DE LICENCIADOS DE
FILADELFIA
SERVICIO DE REFERENCIA E
lNFoRMACIo'N LEGAL
One Reading Center
Filadelfia, Pennsylvania 19107
'I`eléfono: (215) 238-1701

Case ll): l70303l07

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COMPLAINT

l. Plaintiff. Keena lngram.v is a resident ofthe Coinmonwealth of Pennsylvania. residing at

the address listed in the caption ofthis Complaint.

2c Upon information and beliet`, Defendant, lsrael Guerreiro Jr.. is a resident of the
Commonwealth of Pennsylvania. residing at the address listed in the caption of this Complaint.

3. Defendant, Northeast Foods. Ine.1 is a business entity registered to do business in the
Colnnionvvealth ofPennsylvania, With a business address listed in the caption oftbis Complaint.

4. Upon information and belief Defendant regularly and systematically transacts
business in Philadelphia C.ounty so as to be subject to venue and in personem jurisdiction in
Philadelphia_

5. Orl or about .luly 12"" 2017, at approximately l 1100 Al\/l, Plaintiff, Was the operator ofa

motor vehicle, Which was traveling at or near the intersection of Washington Ave & S
15th St, Philadelphia, PA 1914.

6. At or about the same date and time, Defendant` israel Guerren'o Jr, was the operator
of a motor vehicle, Which Was owned by Defendarit, Northeast Foods, lnc, Whieh Was traveling at or
near the aforesaid intersection and/or location ofPlaintiff`s vehiclel

7. At about the same date and tiine. Defendant`s vehicle was involved in a motor
vehicle collision in which Plaintiffwas a passenger

8. At all times relevant hereto, upon information and belief, Defendant1 Israel Guen'erro
Jr, Was operating the aforementioned defendant, I\lortheast Foods, lne`s motor vehicle as
defendants agent, servant and/or employee acting in the scope of their agency

9. The aforesaid motor vehicle collision was caused by the Defendant negligently

and/or carelessly, operating his vehicle in such a manner so as to strike Plaintiff’s vehicle.

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10. As a direct and proximate result ol`thejoint and/or several and/or direct or vicarious
negligence and/or carelessness ofthe Defendants. Plaintit`f has sustained serious permanent personal
injuries and damagesl

ll. As a result of the incident_ Plaintitfsuftered severe and permanent injuries as set

forth more fully below.

COUNT I
Zakiyak Hager v. Israel Guerrerro Jr.
Neg|igence
12. Plaintiffincorporates the foregoing paragraphs ofthis Complaint as if fully set forth
at length h erein. /
13. The negligence and/or carelessness ofDefendant` Which was the direct and

proximate cause of the incident and the injuries and damages sustained by the Plaintiff consists of,
but is not limited to:
a. Failing to maintain proper distance between vehicles;
b. Operating said vehicle Without regard for the rights or Safety of Plaintiffor
others;
c. Failing to have said vehicle under proper and adequate control;
d. Operating said vehicle at a dangerous and excessive rate ofspeed under the
circumstances'.
e. Violation ofthe assured clear distance rule;
f. Failure to keep a proper lookout;
g. F ailure to apply brakes earlier to stop the vehicle Without striking the pole;
h. Being inattentive to his duties as an operator ofa motor veliiele;
i. Disregarding traffic lanes, patteins, and other devices;

j Dn`ving at a high rate of speed which was high and dangerous for eonditions;

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k. Failing to remain continually alert while operating said vehicle;

l. Failing to perceive the highly apparent danger to others Which the actions and/or
inactions posed;

m. Failing to give Plaintiff meaningful wanting signs concerning the impending
collision:

n. Failing to exercise ordinary care to avoid a eollision;

o. Failing to be highly vigilant and maintain sufficient control of said vehicle and to
bring it to a stop on the shortest possible notice;

p. Operatin g said vehicle With disregard for the rights of Plaintiff, even though she
was aware or should have been aware of the presence of Plaintiff and the threat
of harm posed to Plaintiff;

q. Continuing to operate the vehicle in a direction When lie/she saw. or in the
exercise of reasonable diligence. should have seen. that further operation in that
direction would result in a collision;

r. Dtiving too fast for conditions;

s. Violating the Pennsylvania Vehicle Code;

t. Failing to operate said vehicle in compliance with the applicable laws and
ordinances ofthe Commonwealth of Pennsylvania, pertaining to the operation
and control of motor vehicles

14. As a direct result ofthe negligent and/or eareless, conduct of Dcfendant, Plaintiff
suffered various serious and permanent personal in juries, Serious impairment of bodily function.

permanent serious disfigurement, and/or aggravation of certain injurics, all to Plaintiff's great loss

and detriment

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15. As a result ol" these injuries. all ot` which are permanent in nature and all ot` which are
to Plaintiffs` great financial detriment and loss, Plaintiff has in the past` is presently. and may in the
future suffer great paint anguish, sickness and agony and will continue to suffer for an indefinite
time into the future.

16. As an additional result ofthe carelessness and/or negligence ofDefendant, Plaintiff
has suffered emotional injuries along With the physical injuries sufferedl

l7. As a further result of the injuries sustained, plaintiffs have. are presently, and may in
the future undergo a great loss of earnings and/or earning ca'pacity. all to P|aintift`s further loss and
detriment

18. Furthennore, in addition to all the injuries and losses suffered by Plaintiff. Plaintiff
has also incurred or Will incur medical, rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Vehicle Financial Responsibility Law. 75 Pa.C.S. Section 17011 e_t.S_ecL, as amended1 for which he
makes a claim for payinth in the present action.

WHEREFORE, Plaintiff demands judgment in Plaintiffs favor and against Defendant` in an
amount in excess ot`Fit`ty Thousand ($50.000.00) Dollars, plus all costs and other relief this court

deems necessary.

COUNT II
Keena lngram v. Northeast Foods, lnc.
Negligent Entrustment
19, Plaintiff incomoratcs the foregoing paragraphs of this Complaiiit as if set forth fully
at length herein.
20. The negligence and/or carelessness of Defendant, Israel Guerreiro Jr, which was a

proximate cause of the aforesaid motor vehicle collision and the resultant injuries and damages

sustained by the Plaintiff, consists of, but is not limited tot the following:

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a. Peniiitting Det`endant, lsrael Guerrerro Jr, to operate the motor vehicle without
first ascertaining whether or not lie/she was capable of properly operating said
vehicle;

b. Permitting lsreal Guerrerro Jr.. to operate the motor vehicle when Defendant,
Northeast Foods. lnc.l knew. or in the exercise of due care and diligence, should
have known that Defendant. lsrael Guerrerro Jr, was capable of committing the
acts of negligence set forth above;

c. Failing to warn those persons, including the Plaintift`, that Defendant, Northeast
Foods lnc.1 knew, or in the existence of due care and diligence should have
known` that the Plaintiff would be exposed to lsrael Guen'eiro Jr’s negligent
operation of the motor vehicle

21. As a direct result of the negligent and/or careless conduct of Det`endant, the Plaintiff
suffered various serious and pennanent personal injuries, serious impairment of bodily function,
permanent serious distigurernent, aggravation of certain injuries and/or other ills and injuries all to
Plaintit`fs great loss and detriment

22. As a result of these injuries, all of Which are permanent in nature and all of Wliich are
to Plaintiff’s great financial detriment and loss, Plainti ff has in the past, is presently and may in the
future suffer great anguish sickness and agony and will continue to suffer for an indefinite time into
the future.

23. As an additional result of the carelessness and/or negligence of Defendant, Plaintiff
has suffered emotional injuries, along With the physical injuries suffered

24. As a further result of Plaintift`s injuries, she has in the past, is presently and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs further loss and

detriment

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25. Furthemiore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff
has also incurred or will incur medical. rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Peiinsylvania
Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 170|, e_t._Siq_ as amended. for which she
makes a claim for payment in the present action.

WHEREFORE, Plaintiff prays l`orjudgment in PlaintifFS favor and against Defendant, in an
amount in excess ot`Fifty Thousand ($50,000.00) Dollars\ plus all costs and other reliefthis court

deems necessary.
Q_M
Keena lngram v. Northeast Foods lnc.
Respondeat Superior

26. Plaintiff incorporates the foregoing paragraphs of this Coniplaint as if hilly set forth
at length herein,

27. The negligence and/or carelessness of Defendant, itself and through its agent, the
driver of the motor vehicle. acting at all times relevant hereto within the scope ofthe agency, which
was the direct and proximate cause of the incident and the injuries and damages sustained by the
plaintiff consist oft but is not limited to:

a. Failing to maintain proper distance between vehicles;

b. Operating said vehicle without regard for the rights or safety of Plaintiff or
others;

c. Failing to have said vehicle under proper and adequate control;

d. Operatiii g said vehicle at a dangerous and excessive rate of speed under the
circumstances;

c. Violation ofthe assured clear distance m|c;

f. Failure to keep a proper lookout;

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Failure to apply brakes earlier to stop the vehicle without striking the yellow

qa

pole;

h. Being inattentive to his duties as an operator ot`a motor vehicle;

i. Disregarding traffic lanes, patterns, and other devices;

_i. Driving at a high rate of speed which was high and dangerous for eonditions;

k. Failing to remain continually alert While operating said vehicle;

l, F ailing to perceive the highly apparent danger to others which the actions and/or
inactions posed;

m. Failing to give Plaintiff meaningful warning signs concerning the impending
collision;

n. Failing to be highly vigilant and maintain sufficient control ot` said vehicle and to
bring it to a stop on the shortest possible notice;

o. Operating said vehicle with disregard for the rights ofPlaintift`, even though he
was aware or should have been aware ot the presence ot` Plaintiff and the threat
ofharm posed to him;

p. Continuing to operate the vehicle in a direction when he saw, or in the exercise
of reasonable diligence should have seen_ that further operation in that direction
would result in a collision;

q. Driving too fast t`or couditionS;

r. Failing to operate said vehicle in compliance with the applicable laws and
ordinances ot` the Connnonwealth of Pennsylvania, pertaining to the operation
and control of motor vehicles;

28. As a direct result ofthe negligent and/or eareless, conduct ochFendant, Plaintit`t

suffered various serious and permanent personal injuries, serious impairment ot` bodily t`unction`

Case lD§ 17()8()3107

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permanent serious disfigurement and/or aggravation ofeertain injuries, all to Plaiirtit`fs great loss
and detriment

29. As a result of these injuries. all of which are permanent in nature and all ofwhich are
to Plaintiffs` great financial detriment and loss, Plaintiff has in the past, is presently, and may in the
future suffer great pain, anguish. sickness and agony and will continue to suffer for an indefinite
time into the future

30. As an additional result of the carelessness and/or negligence of Defendant, Plaintiff
has suffered emotional injuries along with the physical injuries suffered

31. As a further result of the injuries sustained1 Plaintiff has1 is present|y` and may in the
future undergo a great loss of earnings and/or earning capacity. all to Plaintiff`s further loss and
detriment

32. Furthemiore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff
has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Vehiele Financial Responsibility Law, 75 Pa.C,S. Section 1701. e_t.S_eq_. as amended for which he
makes a claim for payment in the present action.

WHEREFORE, Plaintiff demands judgment in Plaintiff` s favor and against Def`endant` in an
amount in excess of Fifty Thousand ($50,000.00) Dollars, plus lall costs and other relief this court
deems necessary.

SIMON & Sll\/lON, P.C.

BY§ ___ _ ____A//S _ _
l\/larc l. Sinion. Esquire
Siinon & Simon, P.C.
1515 l\/larket Street

Suite 1600

Philadelphia, PA l9l02
215-467-4666
Attr)/'ne(i»_/'or P/rii/iri`}_‘f

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VERIFI(,`.\TI()I\"

l, Marc Sirnon, hereby slate that l am attorney for the I’lajntif‘fin the within action and
that the facts set forth in this Civil Action Complajnt above are true and correct to the best ot`my
knowledge, information and belief

l understand that the statements in this Verit`icarion are made subject to the penalties of

18 U.S.C.A4 § 1001 relating to unsworn falsification to audiorities.

`t/’\

t
- Marc l. Sirnon

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VER|F|CATION
I am the Plaintiff this action, and l hereby state that the facts set forth in the foregoing
pleading are true and correct to the best of my knowledge, information and belief l understand

that this Veriftcation is subject to 18 Pa.C.S. § 4904 providing for criminal penalties for unsworn

dana

falsification to authorities

 

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